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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PROCTOR AND GAMBLE COMPANY,                 :
                Plaintiff                       :       MISCELLANEOUS CASE NUMBER:
                                                :
       v.                                       :
                                                :
BE WELL MARKETING, INC.                         :
                Defendant                       :

                THIRD PARTY ADHESIVES RESEARCH, INC.’S MOTION FOR
                    A PROTECTIVE ORDER OR TO QUASH SUBPOENA

       AND NOW, comes Third Party Adhesives Research, Inc., and files this Motion for a

Protective Order or to Quash Subpoena and in support thereof, avers as follows:

       1.       The parties captioned above are currently engaged in a patent infringement

litigation in the United States District Court for the Southern District of Ohio – Western Division

and docketed at 1: 12 cv 264.

       2.       In the course of that litigation, Plaintiff requested that certain documents be

produced by Defendant related to its dealings with Third Party Adhesives Research, Inc.

       3.       To reduce the underlying suit down to its simplest terms, Plaintiff Proctor &

Gamble Company alleges that Defendant Be Well Marketing infringed on two patents relative to

teeth whitening products.    These patents are referred to as the “017 patent” and the “199

patent.” Adhesives Research, Inc. provides manufacturing services to Be Well Marketing, Inc.

for the production of its whitening product.

       4.       Counsel for Be Well Marketing, Inc. was able to secure documents thought to be

responsive to the request of Proctor & Gamble Company related to the subject matter of the

suit. It is the position of Adhesives Research, Inc. that this production provides the Proctor &
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Gamble Company with all relevant information within the scope of discovery related to the

underlying suit.

       5.       Those documents were produced under cover of a letter dated October 24, 2012.

A true and correct copy of the October 24, 2012 cover letter is attached hereto as Exhibit A.

       6.       The documents produced are not attached hereto, since they are numerous

(over 400 pages) and confidential, but would be made available to the Court for in camera

review or filing under seal due to the sensitive nature of the content of those documents.

       7.       Suffice to say, these produced documents contained numerous redactions which

Adhesives Research, Inc. submits are necessary to protect its own trade secret protected

manufacturing information and processes.

       8.       Moreover, and most importantly, the manufacturing processes are not the subject

of the underlying patent infringement suit.

       9.       As such, it is the position of Adhesives Research, Inc. that the redactions were

appropriate, that producing the un-redacted documents would require divulging trade secrets to

a competitor, and that these trade secrets are in no way relevant to the underlying claims of the

Proctor & Gamble Company.

       10.      Ultimately, however, the production of documents with redactions did not satisfy

the Proctor & Gamble Company.

       11.      As a result, the Proctor & Gamble Company retained local counsel, Gordon

Einhorn, Esquire of Thomas, Thomas & Hafer, LLP (located in Harrisburg, PA) and issued a

subpoena upon Adhesives Research, Inc. A true and correct copy of the subpoena with exhibit

is attached hereto as Exhibit B.




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       12.     It is submitted that the requested documents in the subpoena seek un-redacted

information from Third Party Adhesives Research which is trade secret protected and not

relevant to the underlying patent infringement claims. Adhesives Research, Inc. manufactures

only the basic material from which the final “Accused Product” is made. Specifically, Adhesives

Research, Inc. creates a coated adhesive product that contains the active ingredient that is

shipped in log rolls of either 27”x 1500’ or 9”x1500’. These log rolls are shipped to Plitek (the

converter and packager that Be Well Marketing uses). Plitek then converts (i.e. die cuts or a

similar method) the log rolls into the size and shape of individual strips and then packages them

for shipment into the marketplace. Adhesives Research, Inc. does not have anything to do with

how the log rolls are cut or the appropriate dosage size, what the finished product specification

is for the “final” product, or how the finished product is packaged, labeled or marketed.

       13.     Further, while there is a generalized Protective Order issued by the sitting judge

in the underlying Ohio litigation, the same does not make findings as to what materials should or

should not be produced. A true and correct copy of the Protective Order is attached hereto as

Exhibit C.

       14.     With a production deadline of November 26, 2012, at 9:00 a.m., Adhesives

Research, Inc. retained Johnson, Duffie, Stewart & Weidner, P.C. to attempt to negotiate a

resolution with counsel for the Proctor & Gamble Company concerning compliance with the

subpoena.

       15.     Counsel for Proctor & Gamble Company graciously granted a one week

extension to the subpoena compliance date in light of the recent Thanksgiving holiday. As

such, the responsive deadline is now December 3, 2012.

       16.     However, after consultation, it has been determined that Adhesives Research,

Inc. cannot disclose the trade secret manufacturing information to a competitor when this
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information is outside the scope of discovery and has no relation to the claims made in the

underlying suit.

       17.      Wherefore, the instant Motion is timely filed pursuant to F.R.C.P. 45(c)(3) and

Adhesives Research, Inc. asks this Court to quash the subpoena or enter a protective order

finding that the documents produced to Proctor & Gamble Company are appropriate with

respect to the subpoena.

       18.      Specifically, and to avoid any confusion, the following responses to the subpoena

have been supplied by Adhesives Research, Inc. to the attached subpoena:

       A.       Document Request No. 1: No documents provided, since Adhesives
                Research, Inc. did not provide the Accused Products.

       B.       Document Request No. 2: Documents provided.

       C.       Document Request No. 3:        Documents provided with redactions as to
                manufacturing processes.

       D.       Document Request No. 4:        Documents provided with redactions as to
                manufacturing processes.

       E.       Document Request No. 5: No documents provided, because Adhesives
                Research, Inc. does not provide the finished Accused Products.

       F.       Document Request No. 6: Documents provided.

       G.       Document Request No. 7: Documents provided.

       H.       Document Request No. 8:        Documents provided with redactions as to
                manufacturing processes.

       I.       Document Request No. 9: No documents provided relating to the Accused
                Products (information relating to Adhesives Research's quality work is
                interspersed in the other documents provided).

       J.       Document Request No. 10. Documents provided with redactions as to
                manufacturing processes.

       K.       Document Request No. 11. No documents, because Adhesives Research,
                Inc. does not manufacture the finished Accused Products.

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L.       Document Request No. 12. Documents provided.

M.       Document Request No. 13. No responsive documents possessed by
         Adhesives Research, Inc.

N.       Document Request No. 14. No samples provided as they would need to be
         maintained in a refrigerated state. If Proctor & Gamble Company, at their
         cost, would make arrangements for refrigerated transport, Adhesives
         Research, Inc. would provide a sample.

O.       Document Request No. 15. No documents, because Adhesives Research,
         Inc. does not manufacture the finished Accused Products.

P.       Document Request No. 16. Adhesives Research, Inc. has provided
         information regarding its business relationship with Be-Well Marketing,
         although this question goes to the manufacture of the final Accused Products
         (which Adhesives Research, Inc. does not manufacture).

Q.       Document Request No. 17: Documents provided.

R.       Document Request No. 18: No documents responsive to this request in the
         possession of Adhesives Research, Inc.

S.       Document Request No. 19: Documents provided with redactions as to
         manufacturing processes. Some of these are the letters of Be-Well’s counsel
         with respect to their opinion as to the freedom-to-operate of Be-Well with
         respect to the patent landscape.

T.       Document Request No. 20: Some of the documents already provided may
         be responsive to this.

U.       Document Request No. 21: Documents provided.

V.       Document Request No. 22: Adhesives Research, Inc. does not have
         documents relating to the “Accused Products” because Adhesives Research,
         Inc. does not make the “Accused Products” as defined in the subpoena. Any
         documents that Adhesives Research has that would relate to “Accused
         Products” would be included in the other documents produced.

W.       Document Request No. 23: No documents provided. Adhesives Research,
         Inc. considers its raw material suppliers to be its commercial trade secret.
         However, some of the raw materials/ingredients that have been specified by
         Be Well Marketing (and that are listed in various documents Adhesives
         Research, Inc. has produced) may be supplier specific based on their trade
         name.


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       WHEREFORE, and for the reasons indicated in the accompanying Brief In Support of

Motion for Protective Order, Adhesives Research, Inc. respectfully requests that this Honorable

Court grant this Motion for a Protective Order and quash the subpoena attached hereto as

Exhibit B.

                                           Respectfully submitted,

                                           JOHNSON, DUFFIE, STEWART & WEIDNER


                                           By: /s/ Elizabeth D. Snover
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Date: November 28, 2012
:526574




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion for A Protective Order or to Quash

Subpoena of Third Party Adhesives Research, Inc. has been duly served upon the following

parties/counsel of record, via electronic mail and by depositing the same in the United States

Mail, postage prepaid, in Lemoyne, Pennsylvania, on November 28, 2012:

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                                    JOHNSON, DUFFIE, STEWART & WEIDNER


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